Case 2:07-cr-00785-BRM          Document 79         Filed 07/15/09    Page 1 of 3 PageID: 522




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
      v.                             : CRIMINAL NO. 07-785 (JLL)
                                     :
AKOUAVI KPADE AFOLABI, et al.        : ORDER
                                     :
                  Defendant.         :
____________________________________:

LINARES, District Judge.

        Presently before the Court are several pre-trial motions filed by the Government and by

Defendants Lassissi Afolabi (“Afolabi”), Geoffry Kouevi (“Kouevi”), and Akouavi Kpade

Afolabi (“Kpade”). (Docket Entry Nos. 65, 68, 69, and 75.) Having considered the written

submissions and having heard oral argument, the Court issued its decisions regarding the pre-trial

motions on the record. For the reasons set forth on the record, and for good cause shown;

        IT IS on this 14th day of July, 2009,

        ORDERED that Kouevi’s motion to dismiss Count 1 for improper venue is DENIED;

and it is further

        ORDERED that Count 4 as to Kouevi is DISMISSED; and it is further

        ORDERED that Kouevi’s motion for a bill of particulars is DENIED AS MOOT; and it

is further

        ORDERED that the Court RESERVES on Kouevi’s motion to suppress pending a

suppression hearing to be held on July 20, 2009, at 10 AM; and it is further

        ORDERED that Kouevi’s motion to sever is GRANTED; and it is further



                                                1
Case 2:07-cr-00785-BRM           Document 79         Filed 07/15/09   Page 2 of 3 PageID: 523




          ORDERED that Kouevi’s motion for a bill of particulars is DENIED AS MOOT; and it

is further

          ORDERED that Kpade’s motion to dismiss Count 4 of the Superseding Indictment is

DENIED; and it is further

          ORDERED that Afolabi’s motion asking the Government to turn over Brady material is

DENIED AS MOOT; and it is further

          ORDERED that Afolabi’s motion to suppress is DENIED; and it is further

          ORDERED that Afolabi’s motion for access to grand jury transcripts is DENIED except

to the extent the Government must comply with its Brady and Jencks obligations; and it is

further

          ORDERED that Afolabi’s motion to compel the Government to preserve notes of its

agents is DENIED AS MOOT; and it is further

          ORDERED that Afolabi’s motion to redact co-defendant statements pursuant to Bruton

is DENIED AS MOOT; and it is further

          ORDERED that Afolabi’s motion to disclose co-conspirator statements is DENIED AS

MOOT; and it is further

          ORDERED that Afolabi’s motion for Jencks material is GRANTED and the

Government shall turn over this material at least seven days prior to trial; and it is further

          ORDERED that Afolabi’s motion for a pre-trial hearing to determine the existence of a

conspiracy is DENIED; and it is further

          ORDERED that Afolabi’s motion for expert reports is DENIED AS MOOT; and it is

further

                                                 2
Case 2:07-cr-00785-BRM         Document 79          Filed 07/15/09   Page 3 of 3 PageID: 524




       ORDERED that Afolabi’s motion to strike aliases from the indictment is DENIED AS

MOOT; and it is further

       ORDERED that the Government’s motion to preclude “self-serving” statements by the

Defendants is DENIED WITHOUT PREJUDICE AS PREMATURE; and it is further

       ORDERED that the Court RESERVES on the Government’s motion to utilize 404(b)

material pending opposition to be filed by Kpade.

       IT IS SO ORDERED.



                                                            /s/ Jose L. Linares
                                                            United States District Judge




                                               3
